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                                                                                           2:22-cv-1975
                                                                                           Exhibit A

    Home Office: Schaumburg, Illinois • Administrative Office: Philadelphia, Pennsylvania



POLICYHOLDER:         Xavier University of Louisiana                                              POLICY NUMBER:       LTD 125732

EFFECTIVE DATE: January 1, 2015, as amended through January 1, 2018

ANNIVERSARY DATES: January 1, 2016 and each January 1st thereafter.

PREMIUM DUE DATES: The first Premium is due on the Effective Date. Further Premiums are due monthly, in advance,
on the first day of each month.

This Policy is delivered in Louisiana and is governed by its laws and/or the Employee Retirement Income Security Act of
1974 ("ERISA") as amended, where applicable.

Reliance Standard Life Insurance Company is referred to as "we", "our" or "us" in this Policy.

The Policyholder and any subsidiaries, divisions or affiliates are referred to as "you", "your" or "yours" in this Policy.

We agree to provide insurance to you in exchange for the payment of Premium and a signed Application. This Policy
provides income replacement benefits for Total Disability from Sickness or Injury. It insures those Eligible Persons for the
Monthly Benefit shown on the Schedule of Benefits. The insurance is subject to the terms and conditions of this Policy.

The Effective Date of this Policy is shown above. This Policy stays in effect as long as Premium is paid when due. The
"TERMINATION OF THIS POLICY" section of the GENERAL PROVISIONS explains when the insurance terminates.

This Policy is signed by our President and Secretary.




                         Secretary                                                    President




                                      GROUP LONG TERM DISABILITY INSURANCE
                                               NON-PARTICIPATING

 This Long Term Disability Policy amends the Long Term Disability Policy previously issued to you by us. It is issued on
                                                  March 20, 2018.




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                                     RELIANCE STANDARD LIFE INSURANCE COMPANY

                                              Home Office: Schaumburg, Illinois
                                        Administrative Office: Philadelphia, Pennsylvania



 GROUP POLICY NUMBER:                LTD 125732                POLICY EFFECTIVE DATE:             January   1,   2015,   as
                                                                                                  amended through January 1,
                                                                                                  2018


 POLICY DELIVERED IN:                Louisiana                 ANNIVERSARY DATE:                  January 1st in each year


Application is made to us by: Xavier University of Louisiana

This Application is completed in duplicate, one copy to be attached to your Policy and the other returned to us.

It is agreed that this Application takes the place of any previous application for your Policy.




Signed at                                                                               this            day of                 .


Policyholder:


By: _____________________________________________
                         (Signature)

   ______________________________________________
                           (Title)




                                                     Please sign and return.




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*BC1COAPLTD     12573201/01/2018*RSL
*BC2COAPXavier University of Louisiana
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                                     RELIANCE STANDARD LIFE INSURANCE COMPANY

                                              Home Office: Schaumburg, Illinois
                                        Administrative Office: Philadelphia, Pennsylvania



 GROUP POLICY NUMBER:                LTD 125732                POLICY EFFECTIVE DATE:             January   1,   2015,   as
                                                                                                  amended through January 1,
                                                                                                  2018


 POLICY DELIVERED IN:                Louisiana                 ANNIVERSARY DATE:                  January 1st in each year


Application is made to us by: Xavier University of Louisiana

This Application is completed in duplicate, one copy to be attached to your Policy and the other returned to us.

It is agreed that this Application takes the place of any previous application for your Policy.




Signed at                                                                               this            day of                 .


Policyholder:


By: _____________________________________________
                         (Signature)

   ______________________________________________
                           (Title)




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                                                SCHEDULE OF BENEFITS

NAME OF SUBSIDIARIES, DIVISIONS OR AFFILIATES TO BE COVERED: NONE

ELIGIBLE CLASSES: Each active, Full-time employee, except any person employed on a temporary or seasonal basis,
according to the following classifications:

    CLASS 1:    Executive, Faculty and Administrative Staff

    CLASS 2:    Employee, except an employee included in class 1

WAITING PERIOD: 30 days of continuous employment.

INDIVIDUAL EFFECTIVE DATE: The first of the month coinciding with or next following completion of the Waiting
Period.

INDIVIDUAL REINSTATEMENT: 6 months

MINIMUM PARTICIPATION REQUIREMENTS: Percentage: 100%                      Number of Insureds: 10

LONG TERM DISABILITY BENEFIT

ELIMINATION PERIOD: 90 consecutive days of Total Disability.

MONTHLY BENEFIT: The Monthly Benefit is an amount equal to 60% of Covered Monthly Earnings, payable in
accordance with the section entitled Benefit Amount.

MINIMUM MONTHLY BENEFIT: In no event will the Monthly Benefit payable to an Insured be less than $100.

MAXIMUM MONTHLY BENEFIT:

    CLASS 1: $10,000 (this is equal to a maximum Covered Monthly Earnings of $16,667).

    CLASS 2: $6,000 (this is equal to a maximum Covered Monthly Earnings of $10,000).

MAXIMUM DURATION OF BENEFITS: Benefits will not accrue beyond the duration specified below:

                          Age at Disablement                            Duration of Benefits (in years)

                               61 or less                                         To Age 65
                                   62                                                3½
                                   63                                                 3
                                   64                                                2½
                                   65                                                 2
                                   66                                                1¾
                                   67                                                1½
                                   68                                                1¼
                               69 or more                                             1

CHANGES IN MONTHLY BENEFIT: Increases in the Monthly Benefit are effective on the date of the change, provided
the Insured is Actively at Work on the effective date of the change. If the Insured is not Actively at Work on that date, the
effective date of the increase in the benefit amount will be deferred until the date the Insured returns to Active Work.
Decreases in the Monthly Benefit are effective on the date the change occurs.

CONTRIBUTIONS: Insured: 0%

Premium contributions will not be included in the Insured’s gross income.

For purposes of filing the Insured’s Federal Income Tax Return, this means that under the law as of the date this Policy
was issued, the Insured’s Monthly Benefit might be treated as taxable. It is recommended that the Insured contact

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his/her personal tax advisor.




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                                                       DEFINITIONS

"Actively at Work" and "Active Work" mean actually performing on a Full-time basis the material duties pertaining to
his/her job in the place where and the manner in which the job is normally performed. This includes approved time off
such as vacation, jury duty and funeral leave, but does not include time off as a result of an Injury or Sickness.

"Any Occupation" means an occupation normally performed in the national economy for which an Insured is reasonably
suited based upon his/her education, training or experience.

"Claimant" means an Insured who makes a claim for benefits under this Policy for a loss covered by this Policy as a result
of an Injury to or a Sickness of the Insured.

"Covered Monthly Earnings" means the Insured's monthly salary received from you on the day just before the date of
Total Disability, prior to any deductions to a 401(k) and Section 125 plan. Covered Monthly Earnings does not include
commissions, overtime pay, bonuses, incentive pay or any other special compensation not received as Covered Monthly
Earnings.

If hourly paid employees are insured, the number of hours worked during a regular work week, not to exceed forty (40)
hours per week, times 4.333, will be used to determine Covered Monthly Earnings. If an employee is paid on an annual
basis, then the Covered Monthly Earnings will be determined by dividing the basic annual salary by 12.

"Eligible Person" means a person who meets the Eligibility Requirements of this Policy.

"Elimination Period" means a period of consecutive days of Total Disability, as shown on the Schedule of Benefits page,
for which no benefit is payable. It begins on the first day of Total Disability.

Interruption Period: If, during the Elimination Period, an Insured returns to Active Work for less than 30 days, then the
same or related Total Disability will be treated as continuous. Days that the Insured is Actively at Work during this
interruption period will not count towards the Elimination Period. This interruption of the Elimination Period will not apply
to an Insured who becomes eligible under any other group long term disability insurance plan.

"Full-time" means working for you for a minimum of 30 hours during a person's regular work week.

"Hospital" or "Institution" means a facility licensed to provide care and Treatment for the condition causing the Insured's
Total Disability.

"Injury" means bodily Injury resulting directly from an accident, independent of all other causes. The Injury must cause
Total Disability which begins while insurance coverage is in effect for the Insured.

"Insured" means a person who meets the Eligibility Requirements of this Policy and is enrolled for this insurance.

"Physician" means a duly licensed practitioner who is recognized by the law of the state in which treatment is received as
qualified to treat the type of Injury or Sickness for which claim is made. The Physician may not be the Insured or a
member of his/her immediate family.

"Premium" means the amount of money needed to keep this Policy in force.

"Regular Care" means Treatment that is administered as frequently as is medically required according to guidelines
established by nationally recognized authorities, medical research, healthcare organizations, governmental agencies or
rehabilitative organizations. Care must be rendered personally by the Insured's Physician according to generally
accepted medical standards in the Insured's locality, be of a demonstrable medical value and be necessary to meet
his/her basic health needs.

"Regular Occupation" means the occupation the Insured is routinely performing when Total Disability begins. We will
look at the Insured's occupation as it is normally performed in the national economy, and not the unique duties performed
for a specific employer or in a specific locale.




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"Retirement Benefits" mean money which the Insured is entitled to receive upon early or normal retirement or disability
retirement under:
     (1) any plan of a state, county or municipal retirement system, if such pension benefits include any credit for
         employment with you;
     (2) Retirement Benefits under the United States Social Security Act of 1935, as amended or under any similar plan
         or act; or
     (3) an employer's retirement plan where payments are made in a lump sum or periodically and do not represent
         contributions made by an Insured.

Retirement Benefits do not include:
    (1) a federal government employee pension benefit;
    (2) a thrift plan;
    (3) a deferred compensation plan;
    (4) an individual retirement account (IRA);
    (5) a tax sheltered annuity (TSA);
    (6) a stock ownership plan; or
    (7) a profit sharing plan; or
    (8) section 401(k), 403(b) or 457 plans.

"Sickness" means illness or disease causing Total Disability which begins while insurance coverage is in effect for the
Insured. Sickness includes pregnancy, childbirth, miscarriage or abortion, or any complications therefrom.

CLASS 1: "Totally Disabled" and "Total Disability" mean, that as a result of an Injury or Sickness, during the Elimination
Period and thereafter an Insured cannot perform the material duties of his/her Regular Occupation;
    (1) "Partially Disabled" and "Partial Disability" mean that as a result of an Injury or Sickness an Insured is capable of
        performing the material duties of his/her Regular Occupation on a part-time basis or some of the material duties
        on a full-time basis. An Insured who is Partially Disabled will be considered Totally Disabled, except during the
        Elimination Period; and
    (2) "Residual Disability" means being Partially Disabled during the Elimination Period. Residual Disability will be
        considered Total Disability.

CLASS 2: "Totally Disabled" and "Total Disability" mean, that as a result of an Injury or Sickness:
   (1) during the Elimination Period and for the first 24 months for which a Monthly Benefit is payable, an Insured
       cannot perform the material duties of his/her Regular Occupation;
       (a) "Partially Disabled" and "Partial Disability" mean that as a result of an Injury or Sickness an Insured is
           capable of performing the material duties of his/her Regular Occupation on a part-time basis or some of the
           material duties on a full-time basis. An Insured who is Partially Disabled will be considered Totally Disabled,
           except during the Elimination Period;
       (b) "Residual Disability" means being Partially Disabled during the Elimination Period. Residual Disability will be
           considered Total Disability; and
   (2) after a Monthly Benefit has been paid for 24 months, an Insured cannot perform the material duties of Any
       Occupation which provides substantially the same earning capacity. We consider the Insured Totally Disabled if
       due to an Injury or Sickness he or she is capable of only performing the material duties on a part-time basis or
       part of the material duties on a full-time basis.

If an Insured is employed by you and requires a license for such occupation, the loss of such license for any reason does
not in and of itself constitute "Total Disability".

"Treatment" means care consistent with the diagnosis of the Insured's Injury or Sickness that has its purpose of
maximizing the Insured's medical improvement. It must be provided by a Physician whose specialty or experience is
most appropriate for the Injury or Sickness and conforms with generally accepted medical standards to effectively
manage and treat the Insured's Injury or Sickness.




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                               CERTAIN RESPONSIBILITIES OF THE POLICYHOLDER

For the purposes of this Policy, you act on your behalf or as the employee's agent. Under no circumstances will you be
deemed our agent.

Compliance With Americans With Disabilities Act (ADA)

It is your responsibility to establish and maintain procedures which comply with the employer responsibilities of the
Americans With Disabilities Act of 1990, as amended.

Compliance With The Employee Retirement Income Security Act (ERISA)

It is your responsibility to establish and maintain procedures which comply with the employer and/or Plan Administrator
responsibilities of ERISA and the accompanying regulations, where applicable.

Distribution Of Certificates Of Insurance

A Certificate of Insurance will be provided to you for each Insured covered under this Policy. The Certificate will outline
the insurance coverage, and explain the provisions, benefits and limitations of this Policy. It is your responsibility to
distribute the appropriate Certificates and any updates or other notices from us to each Insured.

Maintenance Of Records

It is your responsibility to maintain sufficient records of each Insured's insurance, including additions, terminations and
changes. We reserve the right to examine these records at the place where they are kept during normal business hours
or at a place mutually agreeable to you and us. Such records must be maintained by you for at least 3 years after this
Policy terminates.

Reporting Of Eligibility And Coverage Amounts

It is your responsibility to notify us on a timely basis of all individuals eligible for coverage under this Policy, of all
individuals whose eligibility for coverage ends and of all changes in individual coverage amounts.

It is your responsibility to provide accurate census and salary information on all Insureds on or before each Anniversary
Date, if we request such information.

Timely Payment Of Premiums

It is your responsibility to pay all premiums required under this Policy when due. Any change in the premium contribution
basis must be approved by us.




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                                         TRANSFER OF INSURANCE COVERAGE

If an employee was covered under any group long term disability insurance plan maintained by you prior to this Policy's
Effective Date, that employee will be insured under this Policy, provided that he/she is Actively At Work and meets all of
the requirements for being an Eligible Person under this Policy on its Effective Date.

If an employee was covered under the prior group long term disability insurance plan maintained by you prior to this
Policy's Effective Date, but was not Actively at Work due to Injury or Sickness on the Effective Date of this Policy and
would otherwise qualify as an Eligible Person, coverage will be allowed under the following conditions:

(1) The employee must have been insured with the prior carrier on the date of the transfer; and

(2) Premiums must be paid; and

(3) Total Disability must begin on or after this Policy's Effective Date.

If an employee is receiving long term disability benefits, becomes eligible for coverage under another group long term
disability insurance plan, or has a period of recurrent disability under the prior group long term disability insurance plan,
that employee will not be covered under this Policy. If premiums have been paid on the employee's behalf under this
Policy, those premiums will be refunded.

Pre-existing Conditions Limitation Credit

If an employee is an Eligible Person on the Effective Date of this Policy, any time used to satisfy the Pre-existing
Conditions Limitation of the prior group long term disability insurance plan will be credited towards the satisfaction of the
Pre-existing Conditions Limitation of this Policy.

Waiting Period Credit

If an employee is an Eligible Person on the Effective Date of this Policy, any time used to satisfy any Waiting Period of
the prior group long term disability insurance plan will be credited towards the satisfaction of the Waiting Period of this
Policy.




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                                                  GENERAL PROVISIONS

ENTIRE CONTRACT: The entire contract between you and us is this Policy, your Application (a copy of which is
attached at issue) and any attached amendments.

CHANGES: No agent has authority to change or waive any part of this Policy. To be valid, any change or waiver must
be in writing, signed by either our President, a Vice President, or a Secretary. The change or waiver must also be
attached to this Policy.

TIME LIMIT ON CERTAIN DEFENSES: After this Policy has been in force for two (2) years from its Effective Date, no
statement made by you shall be used to void this Policy; and no statement by any Insured on a written application for
insurance shall be used to reduce or deny a claim after the Insured's insurance coverage, with respect to which claim has
been made, has been in effect for two (2) years.

RECORDS MAINTAINED: You must maintain records of all Insureds. Such records must show the essential data of the
insurance, including new persons, terminations, changes, etc. This information must be reported to us regularly. We
reserve the right to examine the insurance records maintained at the place where they are kept. This review will only
take place during normal business hours.

CLERICAL ERROR: Clerical errors in connection with this Policy or delays in keeping records for this Policy, whether by
you, us, or the Plan Administrator:

    (1) will not terminate insurance that would otherwise have been effective; and
    (2) will not continue insurance that would otherwise have ceased or should not have been in effect.

Clerical Errors include (but are not limited to) the payment of premium for coverage not provided by this Policy. If
appropriate, a fair adjustment of premium will be made to correct a clerical error. Such adjustments will be limited to the
twelve (12) month period preceding the date we receive proof from you that an adjustment due to overpayment of
premium should be made or the date we discover that premium has been underpaid.

MISSTATEMENT OF AGE: If an Insured's age is misstated, the Premium will be adjusted. If the Insured's benefit is
affected by the misstated age, it will also be adjusted. The benefit will be changed to the amount the Insured is entitled to
at his/her correct age.

NOT IN LIEU OF WORKERS' COMPENSATION: This Policy is not a Workers' Compensation Policy. It does not
provide Workers' Compensation benefits.

CONFORMITY WITH STATE LAWS: Any section of this Policy, which on its Effective Date, conflicts with the laws of the
state in which this Policy is issued, is amended by this provision. This Policy is amended to meet the minimum
requirements of those laws.

CERTIFICATE OF INSURANCE: We will send to you an individual certificate for each Insured. The certificate will
outline the insurance coverage, state this Policy's provisions that affect the Insured, and explain to whom benefits are
payable.

TERMINATION OF THIS POLICY: You may cancel this Policy at any time by giving us written notice. This Policy will be
cancelled on the date we receive your notice or, if later, the date requested in your notice.

This Policy will terminate at the end of the Grace Period if Premium has not been paid by that date.

We may cancel this Policy within sixty (60) days of written notice prior to the date of cancellation, only:

    (1) if the number of Insureds is less than the Minimum Participation Number shown on the Schedule of Benefits; or
    (2) if the percentage of Eligible Persons insured is less than the Minimum Participation Percentage shown on the
        Schedule of Benefits.

You will still owe us any Premium that is not paid up to the date this Policy is cancelled. We will return, pro-rata, any part
of the Premium paid beyond the date this Policy is cancelled.

Termination of this Policy will not affect any claim which was covered prior to termination, subject to the terms and
conditions of this Policy.

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                                                     CLAIMS PROVISIONS

NOTICE OF CLAIM: Written notice must be given to us within thirty-one (31) days after a Total Disability covered by this
Policy occurs, or as soon as reasonably possible. The notice should be sent to us at our Administrative Office or to our
authorized agent. The notice should include your name, the Policy Number and the Insured's name.

CLAIM FORMS: When we receive the notice of claim, we will send the Claimant the claim forms to file with us. We will
send them within fifteen (15) days after we receive notice. If we do not, then proof of Total Disability will be met by giving
us a written statement of the type and extent of the Total Disability. The statement must be sent within ninety (90) days
after the loss began.

WRITTEN PROOF OF TOTAL DISABILITY: For any Total Disability covered by this Policy, written proof must be sent to
us within ninety (90) days after the Total Disability occurs. If written proof is not given in that time, the claim will not be
invalidated nor reduced if it is shown that written proof was given as soon as was reasonably possible. In any event,
proof must be given within one (1) year after the Total Disability occurs, unless the Claimant is legally incapable of doing
so.

PAYMENT OF CLAIMS: When we receive written proof of Total Disability covered by this Policy, we will pay any benefits
due within thirty (30) days from the date upon which written notice and proof of claim is received. Benefits that provide for
periodic payment will be paid for each period as we become liable.

We will pay benefits to the Insured, if living, or else to his/her estate.

If the Insured has died and we have not paid all benefits due, we may pay up to $1,000 to any relative by blood or
marriage, or to the executor or administrator of the Insured's estate. The payment will only be made to persons entitled to
it. An expense incurred as a result of the Insured's last illness, death or burial will entitle a person to this payment. The
payments will cease when a valid claim is made for the benefit. We will not be liable for any payment we have made in
good faith.

Reliance Standard Life Insurance Company shall serve as the claims review fiduciary with respect to the insurance policy
and the Plan. The claims review fiduciary has the discretionary authority to interpret the Plan and the insurance policy
and to determine eligibility for benefits. Decisions by the claims review fiduciary shall be complete, final and binding on
all parties.

ARBITRATION OF CLAIMS: Any claim or dispute arising from or relating to our determination regarding the Insured's
Total Disability may be settled by arbitration when agreed to by the Insured and us in accordance with the Rules for
Health and Accident Claims of the American Arbitration Association or by any other method agreeable to the Insured and
us. In the case of a claim under an Employee Retirement Income Security Act (hereinafter referred to as ERISA) Plan,
the Insured's ERISA claim appeal remedies, if applicable, must be exhausted before the claim may be submitted to
arbitration. Judgment upon the award rendered by the arbitrators may be entered in any court having jurisdiction over
such awards.

Any such award will not be binding unless agreed to by the Insured and us. Unless otherwise agreed to, such award will
be binding for a period of twelve (12) months after it is rendered assuming that the award is not based on fraudulent
information and the Insured continues to be Totally Disabled. At the end of such twelve (12) month period, the issue of
Total Disability may again be submitted to arbitration in accordance with this provision.

Any costs of said arbitration proceedings levied by the American Arbitration Association or the organization or person(s)
conducting the proceedings will be paid by us.

The Arbitration process will not be binding or limit the Insured's ability to seek remedies in a court of law or with the
Louisiana Commissioner of Insurance.

PHYSICAL EXAMINATION AND AUTOPSY: We will, at our expense, have the right to have a Claimant interviewed
and/or examined:
    (1) physically;
    (2) psychologically; and/or
    (3) psychiatrically;
to determine the existence of any Total Disability which is the basis for a claim. This right may be used as often as it is
reasonably required while a claim is pending.

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We can have an autopsy made unless prohibited by law.

LEGAL ACTIONS: No legal action may be brought against us to recover on this Policy within sixty (60) days after written
proof of loss has been given as required by this Policy. No action may be brought after three (3) years (Kansas, five (5)
years; South Carolina, six (6) years) from the time written proof of loss is received.




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                            INDIVIDUAL ELIGIBILITY, EFFECTIVE DATE AND TERMINATION

GENERAL GROUP: The general group will be your employees and employees of any subsidiaries, divisions or affiliates
named on the Schedule of Benefits page. New persons becoming eligible for and enrolling for insurance shall be added
to the general group.

ELIGIBILITY REQUIREMENTS: A person is eligible for insurance under this Policy if he/she:
   (1) is a member of an Eligible Class, as shown on the Schedule of Benefits page; and
   (2) has completed the Waiting Period, as shown on the Schedule of Benefits page.

WAITING PERIOD: A person who is continuously employed on a Full-time basis with you for the period specified on the
Schedule of Benefits page has satisfied the Waiting Period.

EFFECTIVE DATE OF INDIVIDUAL INSURANCE: If you pay the entire Premium due for an Eligible Person, the
insurance for such Eligible Person will go into effect on the Individual Effective Date, as shown on the Schedule of
Benefits page.

If an Eligible Person pays a part of the Premium, he/she must apply in writing for the insurance to go into effect. He/she
will become insured on the latest of:
     (1) the Individual Effective Date as shown on the Schedule of Benefits page, if he/she applies on or before that date;
     (2) on the first of the month coinciding with or next following the date he/she applies, if he/she applies within thirty-
         one (31) days from the date he/she first met the Eligibility Requirements; or
     (3) on the first of the month coinciding with or next following the date we approve any required proof of health
         acceptable to us. We require this proof if a person applies:
         (a) after thirty-one (31) days from the date he/she first met the Eligibility Requirements; or
         (b) after he/she terminated this insurance but remained in an Eligible Class as shown on the Schedule of
              Benefits page.

The insurance for an Eligible Person will not go into effect on a date he/she is not Actively at Work because of a Sickness
or Injury. The insurance will go into effect after the person is Actively at Work for one (1) full day in an Eligible Class, as
shown on the Schedule of Benefits page.

TERMINATION OF INDIVIDUAL INSURANCE: The insurance of an Insured will terminate on the first of the following to
occur:

    (1)   the date this Policy terminates;
    (2)   the date the Insured ceases to meet the Eligibility Requirements;
    (3)   the end of the period for which Premium has been paid for the Insured; or
    (4)   the date the Insured enters military service (not including Reserve or National Guard).

INDIVIDUAL REINSTATEMENT: The insurance of a terminated person may be reinstated if he/she returns to Active
Work with you within the period of time as shown on the Schedule of Benefits page. He/she must also be a member of
an Eligible Class, as shown on the Schedule of Benefits page, and have been:
    (1) on a leave of absence approved by you; or
    (2) on temporary lay-off.

The person will not be required to fulfill the Eligibility Requirements of this Policy again. The insurance will go into effect
after he/she returns to Active Work for one (1) full day. If a person returns after having resigned or having been
discharged, he/she will be required to fulfill the Eligibility Requirements of this Policy again. If a person returns after
terminating insurance at his/her request or for failure to pay Premium when due, proof of health acceptable to us must be
submitted before he/she may be reinstated.




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                                                       PREMIUMS

PREMIUM PAYMENT: All Premiums are to be paid by you to us, or to an authorized agent, on or before the due date.
The Premium Due Dates are stated on this Policy's face page.

PREMIUM RATE: The Premium due will be the rate per $100.00 of the entire amount of Covered Monthly Earnings then
in force. We will furnish to you the Premium Rate on this Policy's Effective Date and when it is changed. We have the
right to change the Premium Rate:

    (1) when the extent of coverage is changed by amendment;
    (2) on any Premium Due Date after the third Policy Anniversary;
    (3) on any Premium Due Date on or after the first Policy Anniversary if your entire group's Covered Monthly Earnings
        changes by 15% or more from such group's Covered Monthly Earnings on this Policy's Effective Date; or
    (4) at any time if there is a change in federal or state laws, insurance programs or retirement benefits that would
        impact our liability.

We will not change the Premium Rate due to (2) or (3) above more than once in any six (6) month period. We will tell you
in writing at least thirty-one (31) days before the date of a change due to (2), (3) or (4) above. Should the Premium Rate
increase by 20% or more, we will tell you in writing at least 45 days before such change.

GRACE PERIOD: You may pay the Premium up to thirty-one (31) days after the date it is due. This Policy stays in force
during this time. If the Premium is not paid during the grace period, this Policy will terminate. You will still owe us the
Premium up to the date this Policy terminates.

WAIVER OF PREMIUM: No Premium is due us for an Insured while he/she is receiving Monthly Benefits from us. Once
Monthly Benefits cease due to the end of his/her Total Disability, Premium payments must begin again if insurance is to
continue.




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                                                  BENEFIT PROVISIONS

INSURING CLAUSE: We will pay a Monthly Benefit if an Insured:
   (1) is Totally Disabled as the result of a Sickness or Injury covered by this Policy;
   (2) is under the regular care of a Physician;
   (3) has completed the Elimination Period; and
   (4) submits satisfactory proof of Total Disability to us.

BENEFIT AMOUNT: To figure the benefit amount payable:
   (1) multiply an Insured's Covered Monthly Earnings by the benefit percentage(s), as shown on the Schedule of
        Benefits page;
   (2) take the lesser of the amount:
        (a) of step (1) above; or
        (b) the Maximum Monthly Benefit, as shown on the Schedule of Benefits page; and
   (3) subtract Other Income Benefits, as shown below, from step (2) above.

We will pay at least the Minimum Monthly Benefit, as shown on the Schedule of Benefits page.

OTHER INCOME BENEFITS: Other Income Benefits are:
   (1) disability income benefits an Insured is eligible to receive because of his/her Total Disability under any group
        insurance plan(s);
   (2) disability income benefits an Insured is eligible to receive because of his/her Total Disability under any
        governmental retirement system, except benefits payable under a federal government employee pension
        benefit;
   (3) all benefits (except medical or death benefits) including any settlement made in place of such benefits (whether
        or not liability is admitted) an Insured is eligible to receive because of his/her Total Disability under:
        (a) Workers' Compensation Laws;
        (b) occupational disease law;
        (c) any other laws of like intent as (a) or (b) above; and
        (d) any compulsory benefit law;
   (4) with respect to Class 1, any of the following that the Insured is eligible to receive:
        (a) any formal salary continuance plan;
        (b) wages, salary or other compensation, excluding the amount allowable when engaged in Rehabilitative
            Employment; and
        (c) commissions or monies from you, including vested renewal commissions, but, excluding commissions or
            monies that the Insured earned prior to Total Disability which are paid after Total Disability has begun;
   (5) with respect to Class 2, any of the following that the Insured is eligible to receive from you:
        (a) any formal salary continuance plan;
        (b) wages, salary or other compensation, excluding the amount allowable when engaged in Rehabilitative
            Employment; and
        (c) commissions or monies, including vested renewal commissions, but, excluding commissions or monies that
            the Insured earned prior to Total Disability which are paid after Total Disability has begun;
   (6) that part of disability benefits paid for by you that an Insured is eligible to receive because of his/her Total
        Disability under a group retirement plan; and
   (7) that part of Retirement Benefits paid for by you that an Insured is eligible to receive under a group retirement
        plan; and
   (8) disability or Retirement Benefits under the United States Social Security Act, the Canadian pension plans, or
        any other government plan for which:
        (a) an Insured is eligible to receive because of his/her Total Disability or eligibility for Retirement Benefits; and
        (b) an Insured's dependents are eligible to receive due to (a) above.

Disability and early Retirement Benefits will be offset only if such benefits are elected by the Insured or if election would
not reduce the amount of his/her accrued normal Retirement Benefits then funded.

Retirement Benefits under number (8) above will not apply to disabilities which begin after age 70 for those Insureds
already receiving Social Security Retirement Benefits while continuing to work beyond age 70.

Benefits above will be estimated if the benefits:
   (1) have not been applied for; or
   (2) have been applied for and a decision is pending; or
   (3) have been denied and the denial may be appealed.


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The Monthly Benefit will be reduced by the estimated amount. If benefits have been estimated, the Monthly Benefit will
be adjusted when we receive proof:
    (1) of the amount awarded; or
    (2) that benefits have been denied and the denial cannot be further appealed.

If we have underpaid any benefit for any reason, we will make a lump sum payment. If we have overpaid any benefit for
any reason, the overpayment must be repaid to us. At our option, we may reduce the Monthly Benefit or ask for a lump
sum refund. If we reduce the Monthly Benefit, the Minimum Monthly Benefit, if any, as shown on the Schedule of
Benefits page, would not apply. Interest does not accrue on any underpaid or overpaid benefit unless required by
applicable law.

For each day of a period of Total Disability less than a full month, the amount payable will be 1/30th of the Monthly
Benefit.

COST OF LIVING FREEZE: After the initial deduction for any Other Income Benefits, the Monthly Benefit will not be
further reduced due to any cost of living increases payable under these Other Income Benefits.

LUMP SUM PAYMENTS: If Other Income Benefits are paid in a lump sum, the sum will be prorated over the period of
time to which the Other Income benefits apply. If no period of time is given, the sum will be prorated over sixty (60)
months.

TERMINATION OF MONTHLY BENEFIT: The Monthly Benefit will stop on the earliest of:
   (1) the date the Insured ceases to be Totally Disabled;
   (2) the date the Insured dies;
   (3) the Maximum Duration of Benefits, as shown on the Schedule of Benefits page, has ended; or
   (4) the date the Insured fails to furnish the required proof of Total Disability.

RECURRENT DISABILITY: If, after a period of Total Disability for which benefits are payable, an Insured returns to
Active Work for at least six (6) consecutive months, any recurrent Total Disability for the same or related cause will be
part of a new period of Total Disability. A new Elimination Period must be completed before any further Monthly Benefits
are payable.

If an Insured returns to Active Work for less than six (6) months, a recurrent Total Disability for the same or related cause
will be part of the same Total Disability. A new Elimination Period is not required. Our liability for the entire period will be
subject to the terms of this Policy for the original period of Total Disability.

This Recurrent Disability section will not apply to an Insured who becomes eligible for insurance coverage under any
other group long term disability insurance plan.




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                                           WORKSITE MODIFICATION PROVISION

If an Insured is Totally Disabled, participating in a rehabilitation program and receiving a Monthly Benefit and he/she is
able to return to Active Work should you make a modification to the Insured's worksite, then you may be eligible for
Worksite Modification Reimbursement.

You will be reimbursed for 100% of the actual and reasonable expenses paid for eligible worksite modifications to
accommodate the Insured's return to Active Work, up to a maximum reimbursement of $2,000.00.

Eligible worksite modifications include:

    1. providing the Insured with a more accessible parking space or entrance; or

    2. removing items from the worksite which represent barriers or hazards to the Insured; or

    3. special seating, furniture or equipment for the Insured's work station; or

    4. providing special training materials or translation services during the Insured's training; or

    5. any other services that we deem necessary to help the Insured return to Active Work with you.

In order for this reimbursement to be payable, the Insured must have a Total Disability that results solely from the
Insured's inability to perform his or her Regular Occupation at your worksite. The Insured must also have the physical
and mental abilities needed to perform his or her Regular Occupation or another occupation at your worksite, but only
with the help of the proposed worksite modification.

A worksite modification may first be proposed by either you, the Insured or his or her Physician, or by us. A written
proposal must then be developed with input from you, the Insured or his or her Physician. The proposal must state the
purpose of the proposed worksite modification, the times, dates and costs of the modifications. Any proposal must be in
writing and is subject to our approval, your approval and the approval of the Insured prior to any reimbursement being
paid.

Once the worksite modification has been approved in writing, you must make the worksite modification. Upon receipt of
proof satisfactory to us that the modifications for the Insured have been made as approved and you have paid the person
or organization that provided the worksite modification, we will then reimburse you up to the limit shown above.




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                                                       EXCLUSIONS

We will not pay a Monthly Benefit for any Total Disability caused by:
   (1) an act of war, declared or undeclared; or
   (2) an intentionally self-inflicted Injury; or
   (3) the Insured committing a felony; or
   (4) an Injury or Sickness that occurs while the Insured is confined in any penal or correctional institution.




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                                                       LIMITATIONS

MENTAL OR NERVOUS DISORDERS: Monthly Benefits for Total Disability caused by or contributed to by mental or
nervous disorders will not be payable beyond an aggregate lifetime maximum duration of twenty-four (24) months unless
the Insured is in a Hospital or Institution at the end of the twenty-four (24) month period. The Monthly Benefit will be
payable while so confined, but not beyond the Maximum Duration of Benefits.

If an Insured was confined in a Hospital or Institution and:
     (1) Total Disability continues beyond discharge;
     (2) the confinement was during a period of Total Disability; and
     (3) the period of confinement was for at least fourteen (14) consecutive days;
then upon discharge, Monthly Benefits will be payable for the greater of:
     (1) the unused portion of the twenty-four (24) month period; or
     (2) ninety (90) days;
but in no event beyond the Maximum Duration of Benefits, as shown on the Schedule of Benefits page.

Mental or Nervous Disorders are defined to include disorders which are diagnosed to include a condition such as:
   (1) bipolar disorder (manic depressive syndrome);
   (2) schizophrenia;
   (3) delusional (paranoid) disorders;
   (4) psychotic disorders;
   (5) depressive disorders;
   (6) anxiety disorders;
   (7) somatoform disorders (psychosomatic illness);
   (8) eating disorders; or
   (9) mental illness.

SUBSTANCE ABUSE: Monthly Benefits for Total Disability due to alcoholism or drug addiction will be payable while the
Insured is a participant in a Substance Abuse Rehabilitation Program. The Monthly Benefit will not be payable beyond
twenty-four (24) months.

If, during a period of Total Disability due to Substance Abuse for which a Monthly Benefit is payable, an Insured is able to
perform Rehabilitative Employment, the Monthly Benefit, less 50% of any of the money received from this Rehabilitative
Employment will be paid until: (1) the Insured is performing all the material duties of his/her Regular Occupation on a full-
time basis; or (2) the end of twenty-four (24) consecutive months from the date that the Elimination Period is satisfied,
whichever is earlier. All terms and conditions of the Rehabilitation Benefit will apply to Rehabilitative Employment due to
Substance Abuse.

"Substance Abuse" means the pattern of pathological use of a Substance which is characterized by:
   (1) impairments in social and/or occupational functioning;
   (2) debilitating physical condition;
   (3) inability to abstain from or reduce consumption of the Substance; or
   (4) the need for daily Substance use for adequate functioning.

"Substance" means alcohol and those drugs included on the Department of Health, Retardation and Hospitals' Substance
Abuse list of addictive drugs, except tobacco and caffeine are excluded.

A Substance Abuse Rehabilitation Program means a program supervised by a Physician or a licensed rehabilitation
specialist approved by us.

PRE-EXISTING CONDITIONS: Benefits will not be paid for a Total Disability:
    (1) caused by;
    (2) contributed to by; or
    (3) resulting from;
a Pre-existing Condition unless the Insured has been Actively at Work for one (1) full day following the end of twelve (12)
consecutive months from the date he/she became an Insured.




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"Pre-Existing Condition" means any Sickness or Injury for which the Insured received medical Treatment, consultation,
care or services, including diagnostic procedures, or took prescribed drugs or medicines, during the three (3) months
immediately prior to the Insured's effective date of insurance.




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                                                                 SPECIFIC INDEMNITY BENEFIT

If the Insured suffers any one of the Losses listed below from an accident resulting in an Injury, we will pay a guaranteed
minimum number of Monthly Benefit payments, as shown below. However:
     (1) the Loss must occur within one hundred and eighty (180) days; and
     (2) the Insured must live past the Elimination Period.

For Loss of:                                                                                                                 Number of Monthly Benefit Payments:

Both Hands ............................................................................................................................................................... 46 Months
Both Feet .................................................................................................................................................................. 46 Months
Entire Sight in Both Eyes .......................................................................................................................................... 46 Months
Hearing in Both Ears ................................................................................................................................................ 46 Months
Speech .................................................................................................................................................................... 46 Months
One Hand and One Foot ......................................................................................................................................... 46 Months
One Hand and Entire Sight in One Eye ................................................................................................................... 46 Months
One Foot and Entire Sight in One Eye ..................................................................................................................... 46 Months
One Arm ................................................................................................................................................................... 35 Months
One Leg .................................................................................................................................................................... 35 Months
One Hand ................................................................................................................................................................ 23 Months
One Foot ................................................................................................................................................................... 23 Months
Entire Sight in One Eye ............................................................................................................................................ 15 Months
Hearing in One Ear ................................................................................................................................................... 15 Months

"Loss(es)" with respect to:
    (1) hand or foot, means the complete severance through or above the wrist or ankle joint;
    (2) arm or leg, means the complete severance through or above the elbow or knee joint; or
    (3) sight, speech or hearing, means total and irrecoverable Loss thereof.

If more than one (1) Loss results from any one accident, payment will be made for the Loss for which the greatest number
of Monthly Benefit payments is provided.

The amount payable is the Monthly Benefit, as shown on the Schedule of Benefits page, with no reduction from Other
Income Benefits. The number of Monthly Benefit payments will not cease if the Insured returns to Active Work.

If death occurs after we begin paying Monthly Benefits, but before the Specific Indemnity Benefit has been paid according
to the above schedule, the balance remaining at time of death will be paid to the Insured’s estate, unless a beneficiary is
on record with us under this Policy.

Benefits may be payable longer than shown above as long as the Insured is still Totally Disabled, subject to the Maximum
Duration of Benefits, as shown on the Schedule of Benefits page.




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                                           SURVIVOR BENEFIT - LUMP SUM

We will pay a benefit to an Insured’s Survivor when we receive proof that the Insured died while:
   (1) he/she was receiving Monthly Benefits from us; and
   (2) he/she was Totally Disabled for at least one hundred and eighty (180) consecutive days.

The benefit will be an amount equal to 3 times the Insured’s last Monthly Benefit. The last Monthly Benefit is the benefit
the Insured was eligible to receive right before his/her death. It is not reduced by wages earned while in Rehabilitative
Employment.

A benefit payable to a minor may be paid to the minor’s legally appointed guardian. If there is no guardian, at our option,
we may pay the benefit to an adult that has, in our opinion, assumed the custody and main support of the minor. We will
not be liable for any payment we have made in good faith.

"Survivor" means an Insured's spouse. If the spouse dies before the Insured or if the Insured was legally separated, then
the Insured's natural, legally adopted or step-children, who are under age twenty-five (25) will be the Survivors. If there
are no eligible Survivors, payment will be made to the Insured's estate, unless a beneficiary is on record with us under
this Policy.




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                                   WORK INCENTIVE AND CHILD CARE BENEFITS


WORK INCENTIVE BENEFIT

During the first twelve (12) months of Rehabilitative Employment during which a Monthly Benefit is payable, we will not
offset earnings from such Rehabilitative Employment until the sum of:
    (1) the Monthly Benefit prior to offsets with Other Income Benefits; and
    (2) earnings from Rehabilitative Employment;
exceed 100% of the Insured's Covered Monthly Earnings. If the sum above exceeds 100% of Covered Monthly Earnings,
our Benefit Amount will be reduced by such excess amount until the sum of (1) and (2) above equals 100%.

CHILD CARE BENEFIT

We will allow a Child Care Benefit to an Insured if:
   (1) the Insured is receiving benefits under the Work Incentive Benefit;
   (2) the Insured's Child(ren) is (are) under 14 years of age;
   (3) the child care is provided by a non-relative; and
   (4) the charges for child care are documented by a receipt from the caregiver, including social security number or
        taxpayer identification number.

During the twelve (12) month period in which the Insured is eligible for the Work Incentive Benefit, an amount equal to
actual expenses incurred for child care, up to a maximum of $250.00 per month, will be added to the Insured's Covered
Monthly Earnings when calculating the Benefit Amount under the Work Incentive Benefit.

Child(ren) means: the Insured's unmarried child(ren), including any foster child, adopted child or step child who resides in
the Insured's home and is financially dependent on the Insured for support and maintenance.




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   EXTENSION OF COVERAGE UNDER THE FAMILY AND MEDICAL LEAVE ACT AND UNIFORMED SERVICES
                    EMPLOYMENT AND REEMPLOYMENT RIGHTS ACT (USERRA)

Family and Medical Leave of Absence:

We will continue the Insured's coverage in accordance with your policies regarding leave under the Family and Medical
Leave Act of 1993, as amended, or any similar state law, as amended, if:

    (1) the premium for such Insured continues to be paid during the leave; and
    (2) you have approved the Insured's leave in writing and provide a copy of such approval within thirty-one (31) days
        of our request.

As long as the above requirements are satisfied, we will continue coverage until the later of:

    (1) the end of the leave period required by the Family and Medical Leave Act of 1993, as amended; or
    (2) the end of the leave period required by any similar state law, as amended.

Military Services Leave of Absence:

We will continue the Insured’s coverage in accordance with your policies regarding Military Services Leave of Absence
under USERRA if the premium for such Insured continues to be paid during the leave.

As long as the above requirement is satisfied, we will continue coverage until the end of the period required by USERRA.

This Policy, while coverage is being continued under this Military Services Leave of Absence extension, does not cover
any loss which occurs while on active duty in the military if such loss is caused by or arises out of such military service,
including but not limited to war or any act of war, whether declared or undeclared.

While the Insured is on a Family and Medical Leave of Absence for any reason other than his or her own illness, injury or
disability or Military Services Leave of Absence he or she will be considered Actively at Work. Any changes such as
revisions to coverage due to age, class or salary changes, as applicable, will apply during the leave except that increases
in the amount of insurance, whether automatic or subject to election, will not be effective for an Insured who is not
considered Actively at Work until the Insured has returned to Active Work for one (1) full day.

A leave of absence taken in accordance with the Family and Medical Leave Act of 1993 or USERRA will run concurrently
with any other applicable continuation of insurance provision in this Policy.

The Insured's coverage will cease under this extension on the earliest of:

    (1) the date this Policy terminates; or
    (2) the end of the period for which premium has been paid for the Insured; or
    (3) the date such leave should end in accordance with your policies regarding Family and Medical Leave of Absence
        and Military Services Leave of Absence in compliance with the Family and Medical Leave Act of 1993, as
        amended and USERRA. Coverage will not be terminated for an Insured who becomes Totally Disabled during
        the period of the leave and who is eligible for benefits according to the terms of this Policy. Any Monthly Benefit
        which becomes payable will be based on the Insured's Covered Monthly Earnings immediately prior to the date of
        Total Disability.

Should you choose not to continue the Insured's coverage during a Family and Medical Leave of Absence and/or Military
Services Leave of Absence, the Insured's coverage will be reinstated.




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                                             EXTENDED DISABILITY BENEFIT

We will pay an Extended Disability Benefit to an Insured if the Insured:

(1) meets all the requirements of Total Disability of this Policy; and
(2) is receiving a Total Disability Benefit under this Policy that will be exhausted because the Maximum Duration of
    Benefits has ended; and
(3) is unable to function without another person's Direct Assistance or verbal direction due to:

    (a) an inability to perform at least two Activities of Daily Living (ADL) as defined; or
    (b) Cognitive Impairment as defined; and

(4) is either:

    (a) confined as an Inpatient in a Skilled Nursing Home, Rehabilitation Facility or Rehabilitative Hospital in which
        patients receive care from licensed medical professionals; or
    (b) receiving Home Health Care or Hospice Care; and

(5) makes a Written Request for this benefit within thirty (30) days after the Maximum Duration of Benefits has ended.

The Extended Disability Benefit:

(1) will be an amount equal to 85% of the Monthly Benefit after offsets with Other Income Benefits which was payable
    prior to the Insured qualifying for the Extended Disability Benefit up to a maximum of $5,000 per month; and
(2) is payable for a maximum of sixty (60) months measured from the date that the Maximum Duration of Benefits has
    ended.

Definitions:

"Activities of Daily Living (ADL)" means:

(1) Bathing - the ability to wash oneself in the tub or shower or by sponge bath from a basin without Direct Assistance;
(2) Dressing - the ability to change clothes without Direct Assistance, including fastening and unfastening any medically
    necessary braces or artificial limbs;
(3) Eating/Feeding - the ability to eat without Direct Assistance, once food has been prepared and made available;
(4) Transferring - the ability to move in and out of a chair or bed without Direct Assistance, except with the aid of
    equipment (including support and other mechanical devices); and
(5) Toileting - the ability to get to and from and on and off the toilet, to maintain a reasonable level of personal hygiene
    and to adjust clothing without Direct Assistance.

"Cognitively Impaired" and "Cognitive Impairment" means the Insured’s confusion or disorientation due to organic
changes in the brain resulting in a deterioration or loss in intellectual capacity as confirmed by cognitive or other tests
satisfactory to us.

"Direct Assistance" means the Insured requires continuous help or oversight to be able to perform the Activity of Daily
Living (ADL).

"Home Health Care" means medical and non-medical services, provided in an Insured’s residence due to Injury or
Sickness, including: visiting nurse services; physical, respiratory, occupational or speech therapy; nutritional counseling;
and home health aide services. Home Health Care services must be: (1) prescribed by and provided under the
supervision of a Physician; and (2) rendered by a licensed home health care provider who is not a member of the
Insured’s immediate family. Home Health Care does not include: homemaker, companion and home delivered meals
services; nor informal care services provided by family members of the Insured.

"Hospice Care" means a program of care which coordinates the special needs of a person with a Terminal Illness.
Hospice Care must be: (1) prescribed by and provided under the supervision of a Physician; and (2) rendered by a
licensed hospice care provider who is not a member of the Insured’s immediate family.



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"Inpatient" means a person confined in a Skilled Nursing Home, Rehabilitation Facility or Rehabilitative Hospital, for
whom a daily room and board charge is made.

"Pre-existing Condition" means with respect to the Extended Disability Benefit only, any Sickness or Injury for which the
Insured received medical treatment, consultation, care or services, including diagnostic procedures, or took prescribed
drugs or medicines, during the three (3) months immediately preceding the Insured’s effective date of insurance.

"Rehabilitation Facility or Rehabilitative Hospital" means any facility or Hospital that is licensed in the state in which it is
operating to provide rehabilitation services, therapy or retraining to the Insured to enable him or her to walk,
communicate, and/or function as a member of society.

"Skilled Nursing Home" means a facility or part of a facility that is licensed or certified in the state in which it is operating
to provide Skilled Nursing Care.

"Skilled Nursing Care" means that level of care which:

(1)   requires the training and skills of a Registered Nurse;
(2)   is prescribed by a Physician;
(3)   is based on generally recognized and accepted standards of health care by the American Medical Association; and
(4)   is appropriate for the diagnosis and treatment of the Insured’s Sickness or Injury.

"Terminal Illness" means a Sickness or physical condition that is certified by a Physician in a written statement, on a form
prescribed by us, to reasonably be expected to result in death in less than 12 months.

"Written Request" means a request made, in writing, by the Insured to us.

Pre-existing Conditions Limitation:

With respect to the Extended Disability Benefit only, benefits will not be paid for a Total Disability:

(1) caused by;
(2) contributed to by; or
(3) resulting from;

a Pre-existing Condition unless the Insured has been Actively at Work for one (1) full day following the end of twelve (12)
consecutive months measured from the Insured’s effective date of insurance with us.

No benefits will be paid under the Extended Disability Benefit if the Insured’s Total Disability occurred before the
Insured’s effective date of insurance with us.

The Extended Disability Benefit will cease to be payable on the earliest of the following dates:

(1) the date the Insured dies; or
(2) the date the Insured no longer meets the requirements of Total Disability of this Policy; or
(3) the date the Insured:

      (a) is no longer confined as an Inpatient in a Skilled Nursing Home, Rehabilitative Facility or Rehabilitation Hospital;
          or
      (b) is no longer receiving Home Health Care or Hospice Care; or

(4) the date the Insured is no longer considered Cognitively Impaired; or
(5) the date the Insured is no longer unable to perform at least two Activities of Daily Living (ADL); or
(6) the date the Insured receives his or her sixtieth (60th) monthly Extended Disability Benefit payment.

The Extended Disability Benefit will not be payable for Total Disability which is caused by or results from conditions for
which Monthly Benefits are specifically limited by this Policy such as Mental or Nervous Disorders, alcoholism, drug
addiction, or other Substance Abuse, musculoskeletal and connective tissue disorders, chronic fatigue syndrome,
Environmental Allergic or Reactive Illness, or Self-Reported Conditions.


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If this Policy contains a Survivor Benefit, Activities of Daily Living Benefit (ADL), Catastrophic Care Benefit, Supplemental
Pension Benefit, Living Benefit, Cost of Living Benefit or a Conversion Privilege, such benefits are not applicable when
receiving benefits under the Extended Disability Benefit.




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                                             REHABILITATION BENEFIT

"Rehabilitative Employment" means work in Any Occupation for which the Insured's training, education or experience will
reasonably allow. The work must be approved by a Physician or a licensed or certified rehabilitation specialist approved
by us. Rehabilitative Employment includes work performed while Partially Disabled, but does not include performing all
the material duties of his/her Regular Occupation on a full-time basis.

If an Insured is receiving a Monthly Benefit because he/she is considered Totally Disabled under the terms of this Policy
and is able to perform Rehabilitative Employment, we will continue to pay the Monthly Benefit less an amount equal to
50% of earnings received through such Rehabilitative Employment.

If an Insured is able to perform Rehabilitative Employment when Totally Disabled due to Substance Abuse, we will
continue to pay the Monthly Benefit less an amount equal to 50% of earnings received through such Rehabilitative
Employment. This Monthly Benefit is payable for a maximum of twenty-four (24) consecutive months from the date the
Elimination Period is satisfied.

An Insured will be considered able to perform Rehabilitative Employment if a Physician or licensed or certified
rehabilitation specialist approved by us determines that he/she can perform such employment. If an Insured refuses such
Rehabilitative Employment, or has been performing Rehabilitative Employment and refuses to continue such
employment, even though a Physician or licensed or certified rehabilitation specialist approved by us has determined that
he/she is able to perform Rehabilitative Employment, the Monthly Benefit will be reduced by 50%, without regard to the
Minimum Monthly Benefit.




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                                RELIANCE STANDARD LIFE INSURANCE COMPANY


                                                 AMENDATORY RIDER

It is hereby understood and agreed that the Policy will be amended by the addition of the following:

                                        Applicable to Vermont Residents Only


The following sections/provisions of this Policy are amended to comply with Vermont law:

1.      Schedule of Benefits section, Elimination Period provision.

        The Elimination Period will be the lesser of the number of days shown on the Schedule of Benefits in this policy
        or:

        For Benefit Periods 2 years and greater: 365 days.

        For Benefit Periods greater than 1 year but less than 2 years: 180 days.

2.      Limitations section, Mental or Nervous Disorders and/or Substance Abuse, if such limitations are
        included in this Policy.

        If this Policy contains limitations in coverage for mental or nervous disorders and/or substance abuse, such
        limitations will not apply to Vermont residents. Coverage for these conditions will be treated the same as other
        conditions that may entitle the Insured to full benefits.

3.      Limitations section, Pre-existing Conditions, if such limitation is included in this Policy.

        The pre-existing condition provision time period in the definition of Pre-existing Condition shall be the lesser of
        the time period shown on the Limitations form in this policy or twelve (12) months.

        The period of time during which the Insured becomes Totally Disabled due to a Pre-existing Condition and a
        benefit is not payable for such Total Disability is the lesser of the time period as shown in this policy or twelve
        (12) months.

All other terms and conditions remain unchanged.




                                                      RELIANCE STANDARD LIFE INSURANCE COMPANY




                                                         Secretary




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                                  SUMMARY OF THE LOUISIANA LIFE AND HEALTH
                                  INSURANCE GUARANTY ASSOCIATION ACT AND
                                        NOTICE CONCERNING COVERAGE
                                         LIMITATIONS AND EXCLUSIONS

Residents of Louisiana who purchase life insurance, annuities or health insurance should know that the insurance
companies licensed in this state to write these types of insurance are members of the Louisiana Life and Health Insurance
Guaranty Association. The purpose of this Association is to assure that policyholders will be protected, within limits, in the
unlikely event that a member insurer becomes financially unable to meet its obligations. If this should happen, the
Association will assess its other member insurance companies for the money to pay the covered claims of insured
persons who live in this state and, in some cases, to keep coverage in force. However, the valuable extra protection
provided by these insurers through the Association is limited. As noted in the box below, this protection is not a substitute
for consumers' care in selecting companies that are well-managed and financially stable.


                                                       DISCLAIMER

        The Louisiana Life and Health Insurance Guaranty Association provides coverage of certain claims under
   some types of policies if the insurer becomes impaired or insolvent. COVERAGE MAY NOT BE AVAILABLE FOR
   YOUR POLICY. Even if coverage is provided, there are significant limits and exclusions. Coverage is always
   conditioned upon residence in this state. Other conditions may also preclude coverage.
        Insurance companies and insurance agents are prohibited by law from using the existence of the Association
   or its coverage to sell you an insurance policy.
        You should not rely on the availability of coverage under the Louisiana Life and Health Insurance Guaranty
   Association when selecting an insurer.
        The Louisiana Life and Health Insurance Guaranty Association or the Department of Insurance will respond to
   any questions you may have which are not answered by this document.

                 LLHIGA                                            Department of Insurance
                 P.O. Drawer 44126                                 P.O. Box 94214
                 Baton Rouge, Louisiana 70804                      Baton Rouge, Louisiana 70804-9214



The state law that provides for this safety-net coverage is called the Louisiana Life and Health Insurance Guaranty
Association Law. The following is a brief summary of this law's coverage, exclusions and limits. This summary does not
cover all provisions of the law; nor does it in any way change any person's rights or obligations under the Act or the rights
or obligations of the Association.


                                                 (please refer to next page)




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COVERAGE

     Generally, individuals will be protected by the Louisiana Life and Health Insurance Guaranty Association if they live in
this state and hold a life or health insurance contract, or an annuity, or if they are insured under a group insurance
contract, issued by an insurer authorized to conduct business in Louisiana. The beneficiaries, payees or assignees of
insured persons are protected as well, even if they live in another state.

EXCLUSIONS FROM COVERAGE

However, persons holding such policies are not protected by this Association, if:

      (1)   they are eligible for protection under the laws of another state (this may occur when the insolvent insurer was
            incorporated in another state whose guaranty association protects insureds who live outside that state);

      (2)   the insurer was not authorized to do business in this state;

      (3)   their policy was issued by a nonprofit hospital or medical service organization, an HMO, a fraternal benefit
            society, a mandatory state pooling plan, a mutual assessment company or similar plan in which the
            policyholder is subject to future assessments, or by an insurance exchange.

The Association also does not provide coverage for:

      (1)   any policy or portion of a policy which is not guaranteed by the insurer or for which the individual has assumed
            the risk, such as a variable contract sold by prospectus;

      (2)   any policy of reinsurance (unless an assumption certificate was issued);

      (3)   interest rate yields that exceed an average rate;

      (4)   dividends;

      (5)   credits given in connection with the administration of a policy by a group contract holder;

      (6)   employers' plans to the extent they are self-funded (that is, not insured by an insurance company, even if an
            insurance company administers them);

      (7)   Medicare Part C benefits or Medicare Part D benefits;

      (8)   certain unallocated annuity contracts (which give rights to group contract holders, not individuals) and certain
            structured settlement annuity contracts;

      (9)   Other exceptions and exclusions may also be applicable depending upon the issuing insurer, the policy itself,
            the policyholder or policy owner, or other factors. For more information, see the Louisiana Life and Health
            Insurance Guaranty Association Law, Louisiana Revised Statutes R.S. 22:2081 et seq.


LIMITS ON AMOUNT OF COVERAGE

    The act also limits the amount the Association is obligated to pay out. The Association cannot pay more than what the
insurance company would owe under a policy or contract. Also, for any one insured life, the Association will pay a
maximum of $500,000 no matter how many policies and contracts there were with the same company, even if they
provided different types of coverage. Within this overall $500,000 limit, the Association will not pay more than: $500,000 in
health insurance benefits; $250,000 in present value of annuities (including cash surrender and cash withdrawal values);
or $300,000 in life insurance death benefits (but not more than $100,000 in cash surrender and cash withdrawal values) -
again, no matter how many policies and contracts there were with the same company, and no matter how many different
types of coverages. Other conditions, requirements or exclusions may apply.




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